Case 1:05-cv-01373-DFH-TAB Document 14 Filed 02/22/06 Page 1 of 2 PageID #: 42



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA



UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )
       vs.                                            )       1:05-cv-1373-DFH-TAB
                                                      )
REAL PROPERTY IN BROWN COUNTY,                        )
INDIANA, COMMONLY KNOWN AS 1787                       )
LUCAS HOLLOW ROAD, NASHVILLE,                         )
INDIANA, WITH ANY APPURTENANCES                       )
AND IMPROVEMENTS THERETO,                             )
                                                      )
                               Defendant.             )




                              Entry Concerning Selected Matters

         The court, having considered the above action and the matters which are pending, makes
the following rulings:

       1.      Mr. Pedigo’s motion to set replevin hearing is denied based on the present record.

        2.       Mr. Pedigo has asserted an interest in the seized property, but not an assertion
sufficient to satisfy the pleading requirement in this case. To contest a forfeiture action under
Supplemental Rule C(6), an individual bears the burden of demonstrating an interest in the seized
item sufficient to satisfy the court of his standing. United States v. $47,875 in United States
Currency, 746 F.2d 291, 293 (5th Cir. 1984). Specifically, Rule C(6) requires that a putative
claimant file a verified claim under oath or affirmation and include "the claimant's interest in the
property, the right by which [the claimant] demands restitution, and the right by which [the claimant]
defends the action." United States v. $38,570 in United States Currency, 950 F.2d 1108, 1111 (5th
Cir. 1992) (quoting FED. R. CIV. P. SUPP. R. C(6)); see also United States v. Prop. Identified as
$88,260.00 in United States Currency, 925 F.Supp. 838, 840-41 (D.D.C. 1996) (noting that the
claimant must file a verified claim in an in rem forfeiture action to acquire statutory standing);
United States v. A Single Story Double Wide Trailer, 727 F.Supp. 149, 152-53 (D.Del. 1989)
(stating that "[o]nly by filing a verified claim, in accordance with C(6), can a claimant demonstrate
that he has a sufficient interest in the seized item to satisfy standing requirements"); United States
v. $288,914.00 in United States Currency, 722 F.Supp. 267, 270 (E.D.La. 1989) (recognizing that
a claimant must comply with the pleading requirements of Supplemental Rule C(6)).
Case 1:05-cv-01373-DFH-TAB Document 14 Filed 02/22/06 Page 2 of 2 PageID #: 43



       3.       The United States’ motion for order to show cause is granted. Mr. Pedigo shall
have through March 28, 2006, in which to file a claim to the seized property which complies with
the requirements described in paragraph 2 of this Entry. Specifically, he shall have through that
date in which to file a verified claim under oath or affirmation and include his interest in the
property, the right by which he demands restitution, and the right by which he defends the action.

        So ordered.




                                             DAVID F. HAMILTON, Judge
                                             United States District Court
Date:    2/22/2006




Copies to:

Winfield D. Ong
UNITED STATES ATTORNEY'S OFFICE
winfield.ong@usdoj.gov

Ricky L. Pedigo
Brown County Jail
P.O. Box 95
Nashville, IN 47448
